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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.: 18-CV-24100-COOKE/GOODMAN

  DIGNA VINAS,

         Plaintiff,

  vs.

  THE INDEPENDENT ORDER OF
  FORESTERS,

        Defendant.
  ______________________________/

                         NOTICE OF FILING PROPOSED ORDER

         Plaintiff, Digna Vinas (“Vinas”), hereby gives notice of filing the attached proposed

  Order regarding Plaintiff’s Expedited Unopposed Motion for Clarification of Court Orders

  DE 66 and DE 68 (DE 69).

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 3, 2020, the undersigned certifies that the
  foregoing document is being served this date to Kristina B. Pett, Esq., Danielle Shure, Esq.,
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                                                    By:          / s/ Craig M. Greene
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                                           and

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